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October 28, 2024

VIA ECF

Hon. Ona T. Wang
United States District Court
Southern District of New York

        Re:    Authors Guild v. OpenAI Inc., 23-cv-8292 (S.D.N.Y.) and Alter v. OpenAI Inc.,
               23-cv-10211 (S.D.N.Y.): Repositories [ECF No. 230]

Dear Magistrate Judge Wang:

Plaintiffs’ motion to compel the production of OpenAI’s current and former employees’ personal
text messages and social media accounts is emblematic of how far Plaintiffs’ discovery efforts
have strayed from the issues relevant to this copyright case. Plaintiffs seek access to some of
OpenAI’s senior-most executives’ personal devices and social media accounts, none of which
are in OpenAI’s possession, custody, or control. Plaintiffs have tacitly admitted as much by
informing OpenAI that they intend to subpoena these same individuals for the same information
sought here. Tellingly, Plaintiffs do not acknowledge this fact in their motion. Nor do Plaintiffs
bother to explain how the information they seek is relevant and proportional to the needs of this
case. It is not. The discovery Plaintiffs demand is overreaching, invasive, and designed to harass,
burden, and annoy the impacted individuals. Their motion should be denied.

I.    Personal X (formerly Twitter) accounts are irrelevant and not in OpenAI’s control.

Plaintiffs argue that OpenAI “must collect and search the X.com direct messages of Sam Altman,
Greg Brockman, Nick Turley, and Chelsea Voss.” But in hopes of justifying this intrusion into
employees’ personal accounts, Plaintiffs misrepresent the record and misstate the law.

Plaintiffs bear the burden to establish that employees’ personal X.com messages are in OpenAI’s
possession, custody, or control. See Coventry Cap. US LLC v. EEA Life Settlements Inc., 334
F.R.D. 68, 73 (S.D.N.Y. 2020). They have failed to meet it. Nor could they, as “[c]orporations
do not own or control their employees’ personal social media accounts.” See Commentary on
Rule 34 and Rule 45 “Possession, Custody, or Control,” 25 SEDONA CONF. J. 1, 59 (2024).
Indeed, Plaintiffs cite no authority for the proposition that an employee’s personal social media
account is in their employers’ control. And, the Sedona Conference found that “no court has
specifically held this to be true,” including under the “practical ability” standard applicable in
this circuit. Id. at 23-24, 59.




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Consistent with that fact, Plaintiffs admit they intend to subpoena the same information from the
employees themselves. Ex. 1. Plaintiffs plan to pursue these subpoenas, in part, because
California Labor Code § 980 explicitly puts employees’ social media outside of OpenAI’s
control. This statute prohibits OpenAI from even asking its employees for access to their social
media accounts. Id. (“An employer shall not require or request an employee . . . to . . . [d]ivulge
any personal social media[.]”). Rather than engage with the substance of Section 980, Plaintiffs
argue that the Court should disregard the statute altogether because it is supposedly preempted
by federal law. Plaintiffs do not cite a single case holding that Section 980 is preempted. Instead,
Plaintiffs’ cases make clear that preemption is relevant only where there is a conflict between
state and federal law. There is no conflict here: Federal Rule of Civil Procedure 34 limits a
party’s discovery obligations to those documents and things in its “possession, custody, or
control.” Section 980 simply says that OpenAI may not ask its employees for access to their
social media accounts, which necessarily means that such social media accounts are outside of
OpenAI’s possession, custody, or control. There is no conflict with federal law.

Plaintiffs’ cases do not hold otherwise. 1 None addresses Section 980 or the question at issue here
—whether OpenAI has possession, custody, or control over its employees’ personal X.com
direct messages. OpenAI does not, as Section 980 makes clear. Rather than address that reality,
Plaintiffs rely on a series of inapposite cases, all of which arise out of Section 1983 claims. Two
of them–Allegrino v. Sachetti, 2015 WL 3948986, at *8-9 (D. Conn. June 29, 2015), and Miller
v. Pancucci, 141 F.R.D. 292, 299 (C.D. Cal. 1992)—involved actual conflicts between state and
federal law; something that, as explained above, is not at issue here. The other two cases—
Lehman v. Kornblau, 206 F.R.D. 345, 348 (E.D.N.Y. 2001), and Bliss v. Putnam Valley Cent.
Sch., 2008 WL 4355400, at *1 (S.D.N.Y. Sept. 22, 2008)—involved claims against government
entities and officials where the targets of discovery sought to avoid complying based on state
confidentiality laws. In neither case was there any question as to whether the material sought was
within the targeted party’s possession, custody, or control. Here, by contrast, both as a practical
matter and as a matter of California law, OpenAI does not have possession, custody, or control
over the social media direct messages at issue. Nothing in Plaintiffs’ motion establishes
otherwise.

Plaintiffs’ motion also should be denied because their own evidence proves that these
employees’ X.com messages are irrelevant. For instance, Plaintiffs cite four public tweets to
justify searching Ms. Voss’s personal social media messages. Tellingly, Plaintiffs did not
reproduce any of the four as exhibits to its motion. They are attached here as Exhibits 2-5. Three
are instances in which Ms. Voss reposted, without comment, a colleague’s tweets. The fourth is
an exchange in which a colleague asked for a book recommendation and Ms. Voss provided one.
Nothing in these tweets suggests Ms. Voss has ever used X.com “for work,” let alone that she
has used direct messages for work. And Plaintiffs cite no evidence that Ms. Voss has used direct

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 Perhaps recognizing that the cases on which they rely are inapposite, Plaintiffs also claim,
without explanation or legal support, that Section 980 “does not even apply” because these
accounts are “not ‘personal.’” This assertion is nonsensical on its face and does not warrant
further discussion.




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messages to discuss issues relevant here. As for the other three custodians, the tweets Plaintiffs
cite show merely that the three individuals have discussed OpenAI on X.com, not that they use
direct messages “for work” generally or to discuss anything pertinent to this copyright case.
Plaintiffs have failed to show that collecting these employees’ personal X.com accounts is
relevant and proportional to the needs of the case.

II.      OpenAI is meeting its obligations as to text messages.

Plaintiffs next assert that OpenAI must collect and produce the texts of Chief Executive Officer
Sam Altman, President Greg Brockman, and former Chief Technology Officer Mira Murati.
There is nothing for the Court to do. The text messages Plaintiffs demand reside on these
executives’ personal devices. Plaintiffs concede that the most the law requires under these
circumstances is for OpenAI to “ask” for cooperation from its employees. As Plaintiffs
acknowledge, OpenAI has already done so. ECF No. 230-1. Indeed, it has done so even for Ms.
Murati, despite the fact she is no longer employed by OpenAI. Plaintiffs are entitled to no Court-
ordered relief.

III.     Plaintffs’ request for discovery on discovery should be denied.

Plaintiffs’ final demand is for a list of all custodians who use text messages for work. This
amounts to discovery on discovery, which is “disfavored.” See Williams v. NYC Bd. of Elections,
2024 WL 3567395, at *4 (S.D.N.Y. July 29, 2024). A party seeking such information “must
provide an adequate factual basis to justify the discovery, and the Court must closely scrutinize
the request in light of the danger of extending the already costly and time-consuming discovery
process ad infinitum.” Haroun v. ThoughtWorks, Inc., 2020 WL 6828490, at *1 (S.D.N.Y. Oct.
7, 2020) (internal quotations omitted) (italics in original). Plaintiffs have provided no basis for
this discovery. They simply claim, without any support, that without this information “the timely
completion of discovery” will be “jeopardize[d].” ECF No. 230 at 3. That is false.

Here, too, Plaintiffs’ citations in support of their position are misleading and off topic. None of
Plaintiffs’ cases ordered the discovery Plaintiffs seek. For instance, in Ferring v. Fera Pharms.,
LLC, 2016 WL 5396620, at *3 (E.D.N.Y. Sept. 27, 2016), the dispute was about the defendant’s
obligation to disclose its ESI search terms after failing to produce any documents from multiple
custodians. That is not what Plaintiffs seek to compel. Nor could they. OpenAI has been
exchanging ESI search terms with Plaintiffs for months.

                                         *       *       *

The three demands in this motion form a single theme: Plaintiffs are scorching the earth in search
of documents residing in the personal devices and personal social media accounts of OpenAI
employees, including its most senior executives, without any concern for their relevance and
proportionality. And they are demanding discovery into discovery without any basis to justify
such requests. Plaintiffs’ efforts are overkill. They are burdensome and harassing. And they are
miles away from the issues relevant to Plaintiffs’ copyright infringement allegations. Their
motion should be denied.




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                                   Sincerely,

KEKER, VAN NEST & PETERS   LATHAM & WATKINS LLP               MORRISON FOERSTER
LLP

/s/Nicholas S. Goldberg    /s/Elana Nightingale Dawson        /s/Carolyn Homer
Nicholas S. Goldberg        Elena Nightingale Dawson          Carolyn Homer




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